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 PROB 12A
 (6/2013)



                                        United States District Court
                                                  for the
                                        Eastern District at London

                             Report on Offender Under Supervision

   Name of Offender:      Gregory Hoskins                             Case Number:      6:15-CR-18-GFVT

   Name of Sentencing Judicial Officer:     The Honorable Gregory F. Van Tatenhove, U.S. District Judge

   Date of Original Sentence:      April 25, 2016

   Original Offense:    False Statements Relating to Health Care Matter

   Original Sentence:     Three years probation

   Type of Supervision:     Probation                 Date Supervision Commenced:       April 25, 2016


                                      NONCOMPLIANCE SUMMARY

  The offender has not complied with the following condition(s) of supervision:

  Violation Number Nature of Noncompliance
           1        The defendant is due to expire from supervision on April 24, 2019 and the restitution
                    is not paid in full.



  U.S. Probation Officer Action:

  This officer believes that Gregory Hoskins has paid towards the restitution to the best of his ability while
  on supervision. Since December 26, 2018, the defendant has paid $4,000.00 toward the obligation(s).
  There is a remaining balance of $5,527.51. Based on this information, this officer recommends that the
  defendant's supervision be allowed to expire on the scheduled date of April 24, 2019.

                                                                    Respectfully submitted,




                                                                    Matthew D. Armstrong
                                                                    U.S. Probation Officer
       I                                                            Date: 1/9/2019

  l•        Approved
            Submit a Request for Modifying the Condition or Term of Supervision
  •         Submit a Request for Warrant or Summons
  •         Other
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 RE:   Hoskins, Gregory
       Dkt. # 6:15-CR-18-GFVT
       Report on Offender Under Supervision




                                                          Signature of Judicial Officer

                                                      t-j- ~(j
                                                                                  Date
